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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

    THE STATE OF TEXAS, et al.,           §
                                          §
          Plaintiffs,                     §
    v.                                    §     Civil Action No. 4:20-cv-00957-SDJ
                                          §
    GOOGLE LLC,                           §
                                          §
          Defendant.                      §




     GOOGLE’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL WRITTEN
                 DISCOVERY REGARDING GOOGLE CHATS
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                                          INTRODUCTION

          Google disclosed its Chat preservation process to Plaintiffs four years ago, during the

   pre-litigation stage of this matter. Plaintiffs confirmed their understanding of that process,

   including that Chat messages would be lost if not manually marked “history on,” and did not

   raise any objections or concerns. The Federal Rules require parties to coordinate their

   discovery efforts early in litigation precisely to avoid the kind of gamesmanship that

   Plaintiffs are engaging in now, and Plaintiffs failed to do so. See generally Fed. R. Civ. P. 26.

          Since Plaintiffs confirmed their understanding of Google’s processes, hundreds of

   thousands of individual Chat messages have been produced in this case, and Google estimates

   it has collected millions more for the agreed custodians. Ex. 1. If Plaintiffs had a genuine

   concern about the reasonableness of Google’s retention process then they should have raised

   it years ago when it was disclosed instead of waiting until now. There is no justification for

   entertaining Plaintiffs’ requests for documents and information that pre-date any preservation

   obligation in this case, that are privileged, or that were collected in unrelated cases.

          But now, Plaintiffs allege an illogical and unsubstantiated company-wide conspiracy

   dating back to 2007 to “prevent production of communications” relevant to allegations that

   Plaintiffs only began investigating 12 years later. Given the nonsensical premise of a plan to

   avoid something that did not exist, it is no surprise that Plaintiffs have no evidence to support

   their wild conspiracy theory from the mountain of discovery they have received. Plaintiffs

   now have 100 transcripts of testimony from current and former Google employees and asked

   over 500 Chat-related questions, in addition to conducting an entire 30(b)(6) deposition on

   retention processes (including the process for Chat retention). Nobody testified that they

   deleted Chat messages. Nobody instructed others to delete messages or to avoid discovery

   obligations; nobody testified that they were so instructed.            Plaintiffs proffered their

   conspiracy theory directly to a handful of deponents and all of them forcefully rejected it.
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   Ex. 2; infra at 11. There was no conspiracy, and Plaintiffs have not pointed to any “specific”

   or   “material” deficiency in Google’s productions that would justify yet more

   discovery-on-discovery. See VeroBlue Farms USA Inc. v. Wulf, 345 F.R.D. 406, 420 (N.D.

   Tex. 2021).

          Instead, Plaintiffs point to a handful of Chat messages, emails, and trainings, many of

   which pre-date any kind of preservation obligation in this case or have nothing to do with ad

   tech. Plaintiffs did not ask deponents in this case about the documents they now portray as

   smoking guns and ask the Court to draw sweeping inferences that do not survive scrutiny.

   Litigants in other cases have asked about these same documents and the resulting testimony

   contradicts Plaintiffs’ conspiracy theory. Infra at 11.

          Plaintiffs’ complaints also ring hollow because they have failed to comply with even

   the most basic preservation obligations incumbent on any civil litigant in federal court. Five

   State Plaintiffs admitted that they did not issue litigation hold notices. Their productions

   have been paltry. And Puerto Rico is only just now beginning its productions—two months

   after the close of fact discovery. It would be inequitable to reward Plaintiffs by indulging

   their conspiracy theories and prolonging their discovery-on-discovery sideshow.

          Plaintiffs have utterly failed to show any prejudice from the retention policy they

   knew full well about or a “specific” and “material” deficiency in Google’s massive

   production that warrants revisiting the protective order limiting discovery-on-discovery in

   this case. The Court should deny Plaintiffs’ motion.

                                          BACKGROUND

              A. Google Disclosed Its Chats Retention Process to Plaintiffs in 2020

          Texas announced its antitrust investigation into Google’s ad tech products on

   September 9, 2019. Shortly thereafter, Google issued its first wave of 44 litigation hold

   notices. By the end of 2019, Google had placed over 130 employees on litigation hold.



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             Google’s litigation hold notice contained specific instructions regarding the

   preservation of Google Chat and Hangouts.1 Google instructed employees not to use these

   instant messaging applications to discuss any topics covered by the legal hold and that, if they

   must, then they should preserve the messages by switching to “history on.”

             Google disclosed its Chat retention processes to Texas beginning in January 2020:

          ● Google disclosed that “Google Hangouts messages are generally retained for a period
            of 30 days if they have been marked on-the-record, and potentially longer if the
            custodian of the on-the-record messages are on legal hold.” Ex. 3 at 3.

          ● Texas then confirmed its understanding that “[Chat] messages are not retained in any
            way unless they are marked on-the-record by the user.” Ex. 4 at 2.

          ● And Google responded that “Hangout messages by default are set to be
            ‘off-the-record.’ Off-the-record messages are not retained by Google,” and that
            “Google instructs custodians on a legal hold to preserve relevant materials, including
            an instruction to preserve relevant Hangout conversations by putting those
            conversations ‘on-the-record’ on a message-by-message basis.” Ex. 5 at 4.

             Google had this process for placing Chat messages on hold because Google assessed

   that Chat messages                                                                  , Ex. 6 at

   124:7-9, and that

                                                                         id. at 120:22-121:4, such

   that



                           Id. at 124:23-24.2

             For the period September 9, 2019 to February 7, 2023 (the “Relevant Retention




   1
     The predecessor application to Chat was called “Hangouts.” Similarly, “on-the-record” was
   an earlier terminology for “history on” functionality.
   2
     Google has publicly disclosed the instructions it gave litigation hold recipients regarding
   Chat usage in response to questioning from Judge Donato and with an understanding that this
   disclosure would not waive privilege or work product protection over the hold notice itself or
   any other instructions it contained. See Hr’g Tr. at 42:8-43:3, In re Google Play Store
   Litigation, No. 21-md-02981-JD (N.D. Cal. Jan 12, 2023) (“I’m taking the position that you
   can ask the questions and you’re not going to face a waiver.”).

                                                   3
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   source code for inspection.6 Plaintiffs have access to approximately 100 transcripts of

   testimony by current and former Google employees.7

          On top of this, Plaintiffs have significant discovery-on-discovery regarding Chat.

   Google has produced to Plaintiffs the output of Chat-related discovery-on-discovery

   negotiated with plaintiffs in the Virginia Case. This includes Chat messages hitting on search

   terms related to the application’s history setting and the results of a survey of 35 custodians in

   this case (chosen by plaintiffs in the Virginia Case) regarding their usage of Chat. Ex. 11.

   And Plaintiffs have asked over 500 questions of Google deponents regarding Chat usage.

              C. Plaintiffs Failed to Discharge Their Basic Discovery Obligations

          In sharp contrast with Google’s massive production, Plaintiffs’ productions have been

   paltry. South Dakota produced its document retention policy and nothing else. Mississippi

   produced one document. Idaho, Missouri, Alaska, and South Carolina all produced less than

   50 documents. No Plaintiff State has produced any instant messages.

          Five Plaintiff States admitted that they did not implement any litigation hold in

   connection with this case. Ex. 12 at 201:19-22 (Nevada), Ex. 13 at 103:18-20 (Indiana), Ex.

   14 at 40:19-24; 41:12-21 (Louisiana), Ex. 15 at 99:3-16 (Utah), Ex. 16 at 27:19-23 (Puerto

   Rico).8 Some States tried to explain away their failure to issue a litigation hold by reference

   to default retention periods. Ex. 18 at 98:21-104:7 (Indiana), Ex. 19 at 99:3-19 (Utah).

   Others did not try to explain away their failure at all. Ex. 16 at 27:19-23 (“Q. Did Puerto

   Rico institute a document-hold notice related to this litigation? A. No. Q. Why not? A. We


   6
     Google has also produced more than 500 dashboard screenshots or related files that were
   manually prepared over the course of recent months, and has made supplemental productions
   of technical documents following a manual search of its files by over 20 engineers.
   7
     In addition to the more than 25 depositions of current and former Google employees that
   Plaintiffs have taken since remand to this Court, Plaintiffs also have access to 24 transcripts
   from the MDL, 10 transcripts from the Virginia Case, 34 transcripts from the DOJ’s pre-suit
   investigation, and 7 trial transcripts from the Search case.
   8
     Alaska’s 30(b)(6) designee testified that he “believe[d] there was” a litigation hold issued in
   the case, but was not sure. Ex. 17 at 66:24-67:1.

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   just didn’t.”). As the Court is aware, Puerto Rico has completely failed to discharge its basic

   discovery obligations on the schedule set by the Court. ECF No. 537.

          Plaintiffs have also succeeded in stonewalling Google’s discovery efforts by taking

   the position that documents belonging to state agencies (who use the products the States have

   put at issue) are not within their control. South Carolina and Texas asserted that state

   agencies are protected by sovereign immunity. The South Carolina Department of Parks,

   Recreation, and Tourism’s petition for rehearing en banc was just denied by the Fourth

   Circuit, and the agency has yet to comply with its obligations.

              D. The Special Master Entered a Protective Order

          On April 26, 2024, the Special Master recommended an Order granting in part

   Google’s request for a protective order, which the Court entered. In permitting limited

   discovery-on-discovery to proceed, the Special Master expressed concern with the disparity

   between the number of emails and other documents produced when compared with the

   number of Chat messages produced. ECF Nos. 428; 452.

          The disparity is attributable in part to the fact that Plaintiffs self-servingly compare

   apples to oranges. Specifically, Plaintiffs instructed deponents to count each individual

   message in a Chat conversation as a distinct, single “Chat,” which led some deponents to

   testify—based on that counting methodology—that they might send as many Chat messages

   in a day as they send emails. See, e.g., Ex. 20 at 258:10-25; Ex. 21 at 66:4-15; Hr’g Tr. (Apr.

   18, 2024) at 74:5-14. But when comparing production volumes in their briefing, Plaintiffs

   contradictorily have counted each produced conversation as one single “Chat”—even though

   it might comprise hundreds of individual messages spanning multiple days and topics.9 See

   ECF No. 374 at 2. To correct for that gamesmanship and allow a fair comparison, Google


   9
    Plaintiffs’ own examples demonstrate this point. Exhibit 8 to their opposition to Google’s
   motion for a protective order is a single Chat conversation, produced as a single document,
   but it comprises 321 individual Chat messages over two days. See ECF No. 374, Ex. 8.

                                                  6
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   has counted the number of individual Chat messages produced. Ex. 1. From within the

   Relevant Retention Period, Google has produced approximately 470,000 individual Chat

   messages. Id. In comparison, Google has produced approximately one million emails during

   the same period. Id.

          Plaintiffs now bring the instant Motion seeking additional discovery-on-discovery to

   support their “theory” that, since 2007, Google conspired to eliminate discoverable

   documents for an investigation that did not exist until 2019. But there is nothing to support

   that theory—indeed, the mountain of evidence produced in discovery dispels it—and the

   Special Master should not permit a further fishing expedition.

                                            STANDARD

          “Once litigation has commenced, if the parties cannot reach agreement about

   preservation issues, promptly seeking judicial guidance about the extent of reasonable

   preservation may be important.” Fed. R. Civ. P. 37(e), Advisory Committee’s Notes to 2015

   Amendment; see also United States v. Ross, 511 F.2d 757, 762 (5th Cir. 1975) (“This Court

   and others have criticized failure to raise alleged discovery errors promptly.”).

          Federal Rule 37 allows a party to “move for an order compelling disclosure or

   discovery.” Fed. R. Civ. P. 37(a)(1). “The moving party bears the burden of showing that the

   materials and information sought are discoverable.” Panini Am., Inc. v. Wild Card, Inc., 2023

   WL 1073692, at *1 (E.D. Tex. Jan. 27, 2023). Discovery that is not “relevant to any party’s

   claim or defense,” Fed. R. Civ. P. 26(b)(1), but that instead pertains to how a party has

   complied with its discovery obligations—so-called “discovery-on-discovery”—is disfavored,

   given the “danger of extending the already costly and time consuming discovery process ad

   infinitum [sic].” Freedman v. Weatherford Int’l Ltd., 2014 WL 4547039, at *2 (S.D.N.Y.

   Sept. 12, 2014); In re Google Digital Advert. Antitrust Litigation, No. 21-md-3010 (S.D.N.Y.)

   (“MDL Litigation”) ECF No. 725 at 3 (“[T]his invasive discovery on a collateral issue is



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   unwarranted.”). A party seeking such discovery must justify the request with a “showing of a

   specific or material deficiency” in the responding party’s productions. VeroBlue Farms USA

   Inc. v. Wulf, 345 F.R.D. 406, 420 (N.D. Tex. 2021).

             The discovery that Plaintiffs now seek is subject to a protective order. See ECF No.

   428 at 13 (recommending that the Court grant Google’s motion for a protective order “as to

   the States’ written discovery seeking discovery-on-discovery without prejudice to the States

   later seeking such discovery if justified” (emphasis added)); ECF No. 452 (so ordering). “To

   demonstrate good cause” to modify a protective order, “the movant must present a specific

   demonstration of fact rather than mere conclusory statements.” United States v. Homeward

   Residential, Inc., 2016 WL 279543, at *4 (E.D. Tex. Jan. 22, 2016) (quotation marks and

   citation omitted).

                                            ARGUMENT

        I.   GOOGLE DISCLOSED ITS CHAT RETENTION PROCESSES AT THE
             BEGINNING OF PLAINTIFFS’ INVESTIGATION

             Google disclosed its Chat preservation process to Plaintiffs in 2020.      Plaintiffs

   explicitly confirmed they understood that Chat messages would be lost if employees did not

   manually turn history on. Plaintiffs raised no objection or concern. If they had any concerns,

   Plaintiffs were obligated to “promptly” raise them then, but did not. Ross, 511 F.2d at 762.

   Four years later, Plaintiffs resort to an illogical and unsubstantiated conspiracy theory, but

   this is nothing more than gamesmanship. The Special Master should reject this untimely and

   baseless effort to take even more discovery-on-discovery.

             The Sedona Conference counsels that “[a]s soon as practicable, parties should confer

   and seek to reach agreement regarding the preservation and production of electronically

   stored information.”10 Parties are encouraged to “attempt to resolve discovery issues early.”

   10
     The Sedona Principles, Third Edition: Best Practices, Recommendations & Principles for
   Addressing Electronic Document Production, 19 Sedona Conf. J. 1 (2018) (“Sedona
   Principles” or “Sedona”) at 71.

                                                  8
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   Id. These principles are intended to prevent the precise form of sandbagging occurring here.

   “The 2015 Amendments to the Federal Rules . . . were intended to reduce both the costs

   generally associated with ESI discovery and fears about making preservation decisions that

   might be second-guessed in later spoliation motion practice.”11

          Google has followed this guidance, but Plaintiffs have not.             Google informed

   Plaintiffs of its retention processes at the outset of their investigation. Supra at 3. Plaintiffs

   had tremendous leverage over Google during the pre-suit investigation, but they never

   questioned the reasonableness of Google’s processes or asked that Google change them.

   They did not request any changes during the ten-month negotiation of the ESI Order.

          Plaintiffs’ failure to raise Chat preservation until now has prejudiced Google’s ability

   to attempt to cure any conduct. Cf. Citgo Petroleum Corp. v. Odfjell Seachem, 2013 WL

   2289951, at *11 (S.D. Tex. May 23, 2013) (noting that “an unreasonable delay may render a

   motion for sanctions under Rule 37 untimely” and denying in relevant part a motion filed

   “almost a full year” after the allegedly sanctionable conduct). In that regard, Plaintiffs rely in

   part on a pending sanctions motion in the Search case. Mot. at 1-2. But they gloss over

   Google’s disclosure of its Chat retention process, which Judge Mehta noted during argument,

   remarking that Google’s “express statements” about its treatment of Chat and “what that

   meant for preservation” had been “acknowledged by . . . Texas.”12 He went on to admonish

   the Search plaintiffs that if they “did know” about Google’s preservation process and “didn’t

   say anything about it,” then “whatever harm there is today could have been staunched much

   earlier.” Id. at 226:13-16.

          Plaintiffs suggest that sanctions “may already be warranted” even on the existing

   record. Mot. at 12. But Google’s explicit disclosure and the dearth of evidence in Plaintiffs’

   11
      The Sedona Conference Commentary on Legal Holds, Second Edition: The Trigger & The
   Process (Dec. 2018 Public Comment Version) at 3.
   12
      See Hr’g Tr. at 225:16-19, United States v. Google LLC, No. 20-3010 (D.D.C. Apr. 14,
   2023), ECF No. 580.

                                                   9
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           document, Mr. Pichai testified in open court that they were wrong. The discussion
           regarded an external speaking engagement for Google Cloud. See Ex. 28 at
           7739:18-7742:5. Though he did not “recall the specifics” of this conversation, he
           explained that “normally” he might request that history be turned off if he was “about
           to comment on something of a personal nature about some person.” He went on to
           confirm that he “never use[s] chat in the context of discussing substantive
           discussions” and “take[s] great care to comply with all litigation holds.” See id.
           Plaintiffs in this case sought that transcript and Google produced it to them months
           ago.18 So it is unclear why Plaintiffs have now represented that they “would have to
           ask Mr. Pichai directly” about the contents of the conversation in order to understand
           its context. See ECF No. 535 at 23.

    III.   PLAINTIFFS ARE NOT ENTITLED TO YET ANOTHER ROUND OF
           DISCOVERY-ON-DISCOVERY

           The Court has stated that it is focused on “the parties’ actions in this case” rather than

   “what anybody has done in other cases.” ECF No. 189 (Dec. 14, 2023 Hr’g Tr.) at 30:9-14.

   Accordingly, when Plaintiffs sought additional discovery-on-discovery, Google agreed

   insofar as the discovery was specific to this case and sought non-privileged documents.

   Google declined Plaintiffs’ requests to the extent they seek documents that pre-date the

   existence of a retention obligation in this case, privileged materials, and materials related to

   other cases. Plaintiffs have yet to point to any “specific” or “material” deficiencies in

   Google’s massive productions that would justify additional discovery-on-discovery, Veroblue,

   345 F.R.D. at 420. They have not made “a specific demonstration of fact” that would show

   good cause to modify the Special Master’s existing protective order. Homeward Residential,

   2016 WL 279543, at *4. Accordingly, the Special Master should deny their requests.

           Litigation holds and reminders. Google agreed to respond to Interrogatory 31

   calling for the “start and end dates for any legal holds applicable to any custodian identified

   in this matter” for the time period September 2019 through the present (not starting in 2015

   as Plaintiffs requested). Google had no obligation to retain Chat messages in this case prior

   to September 2019 at the earliest, and so the discovery sought is not relevant. Google


   18
      See ECF No. 289 at 3-4 (ordering Google to produce certain non-public Search trial
   transcripts by March 26, 2024).

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   declined to produce copies of litigation holds and reminders issued in this case because they

   are privileged (RFP Nos. 126 and 127); see, e.g., Retractable Techs. Inc. v. Abbott Lab’ys,

   Inc., 2010 WL 11531179, at *4 (E.D. Tex. May 20, 2010) (denying a motion to compel the

   “precise wording and descriptions of legal issues in this action” of a party’s litigation

   retention policy). There is no basis here to compel production of privileged materials.19

          Additional Discovery-on-Discovery From the Location Case. Plaintiffs took the

   deposition of Google’s corporate representative speaking on certain discovery topics on May

   17, 2024.     The transcript was designated Highly Confidential under the governing

   Confidentiality Order. See ECF No. 182 at ¶ 7(b) (deposition transcripts are deemed Highly

   Confidential in their entirety for 45 days following the deposition). The next business day,

   the same Plaintiffs’ counsel took the deposition of the same corporate representative in a

   different case in state court that does not involve ad tech. Plaintiffs began that deposition by

   seeking to introduce the transcript from this case, in violation of this Court’s Confidentiality

   Order. See ECF No. 182 at ¶ 23 (Highly Confidential Information “shall be used solely for

   the conduct of this Action”).20 Now Plaintiffs want to introduce the transcript from state

   court into this case, as well as dump into the record any Chat-related documents they were

   able to obtain in those unrelated proceedings. This is pure gamesmanship and an attempt by

   Plaintiffs’ counsel to leverage their position as counsel to Texas across multiple cases to get

   two depositions for the price of one. Plaintiffs rely entirely on conclusory statements that this


   19
      Plaintiffs cite no authority suggesting that a litigation hold notice would not be privileged.
   Instead, they rely on an out-of-circuit case in which the court ordered production of a party’s
   litigation hold notice only after the party’s 30(b)(6) witness testified “that no one ever talked
   to her about creating a litigation hold policy and that she was not sure what a litigation hold
   policy was.” Major Tours, Inc. v. Colorel, 2009 WL 2413631, at *3 (D.N.J. Aug. 4, 2009).
   20
      Google’s concerns are heightened given that confidential material has already been leaked
   in this case. Days after this case was filed, an unredacted portion of a draft of the complaint
   was leaked to national media outlets, showing confidential Google and third-party
   information. See generally ECF No. 57 at 29:1-9; see also MDL ECF No. 291 at 31:13-15
   (“[I]f there are leaks, I reserve the right to order forensic investigations of computers,
   lawyers’ computers. All right?”).

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   evidence would be “relevant” here. Mot. at 13. But this does not satisfy the requirement that

   they make a “specific showing of relevancy” sufficient to justify importing discovery from

   another unrelated case into this one. Blackberry, 2015 WL 12698062, *3 (emphasis added).

          Systemwide Backend Log From Play Case. Google declined Plaintiffs’ request for

   the system-wide backend log that Google produced in Play because it was the latest in a long

   line of attempts by Plaintiffs to import the discovery record from a different case into this

   case. While Plaintiffs continue to point to the fact that Google was sanctioned in the Play

   case by Judge Donato, they have not and cannot grapple with the fact that Judge Donato’s

   reasoning was grounded in his finding that Google “should have advised plaintiffs about its

   preservation approach early in the litigation.” Play ECF No. 469 at 16-19. Here, Google did

   advise Plaintiffs about its preservation approach at the outset of the pre-suit investigation.

   Plaintiffs have also not shown any “specific” or “material” deficiency in Google’s

   productions that the production of this data log would remedy or explain. Veroblue, 345

   F.R.D. at 420. This is not the Play case and does not warrant mirrored discovery, let alone

   more discovery-on-discovery after the close of fact discovery. In addition, of the more than

   180 custodians in this case, only seven overlap with those in the Play case, meaning that the

   systemwide backend log largely pertains to irrelevant custodians. The Special Master should

   not entertain Plaintiffs’ request to embark on a fishing expedition that is not proportional to

   the needs of this case in light of the mountain of existing discovery that disproves the theory

   underpinning Plaintiffs’ Motion.

                                         CONCLUSION

          For all the foregoing reasons, Plaintiffs’ Motion should be denied.




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   Dated: July 5, 2024                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

          I certify that on July 5, 2024, this document was filed electronically in compliance
   with Local Rule CV-5(a) and served on all counsel who have consented to electronic service,
   per Local Rule CV-5(a)(3)(A).

                                                             /s/ R. Paul Yetter
                                                             R. Paul Yetter




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